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                 USP LEWISBURG PRE-TRIAL LEGAL PROCEDURES

         Guidelines for Video Teleconference (VTC) Legal Visits

     VTC legal visiting will be scheduled via
      https://lewlegalvisit.skedda.com/booking. Visits may be
      scheduled Monday - Friday from 8:00 AM to 3:00 PM.

     When scheduling your visit, please provide the state and
      number of your attorney license in the notes section of the
      booking request. Once verified, you will receive an e-mail
      with a meeting link. Failure to provide verification
      information will result in cancellation of the requested
      appointment.

     Failure to join a meeting within 15 minutes of the scheduled
      start time will result in cancellation of the meeting.
      Repeated incidents of failing to timely join a meeting may
      result in suspension of your VTC legal visiting capabilities.

     These meetings are for attorney/client purposes only. Meeting
      links shall not be forwarded outside of inmate legal counsel.
      Any attempt to include non-legal participants may result in
      disciplinary action against your client and termination of
      future attorney video visit capabilities.

     VTC visits cannot be scheduled less than 48 hours in advance.
      In the event safety and security or capacity concerns dictate
      that an appointment be modified, you will be contacted by the
      USP Lewisburg Legal Department to schedule an alternate time.
      Emergency requests may be accommodated, if possible, on a
      case-by-case basis.

     Inmates will have an opportunity to place legal calls through
      their Unit Team from 1:00 PM to 3:00 PM on Tuesdays and
      Wednesdays, with standard phone calls lasting fifteen (15)
      minutes. Additional legal calls may be accommodated on a case-
      by-case basis. Inmates will also have unrestricted access to
      the D.C. Federal Defender’s Office via unmonitored telephones
      on their respective housing units from 6:00 AM to 9:00 PM.

     Please note, standard VTC legal visits will last one (1)
      hour. If you need additional time, the assistance of an
      interpreter, or would like to request an additional attorney
      participate in the visit, please include this information in
      the notes section of your booking request. We will attempt
      to accommodate requests for meetings longer than one hour as
      space allows. Attempts to book back to back meetings for

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       the same inmate without prior notice/approval will result in
       cancellation of the second hour block.


                 Guidelines for In-Person Legal Visiting

Visits will occur daily from 8:00 AM to 4:00 PM:

       Any visits occurring after 4:00 PM will require advance
        notice.

       Personal laptops and cellphones will not be permitted to
        enter the facility. If you require the use of a laptop to
        review electronic discovery, please notify staff in advance
        of your visit. Institution laptops will be furnished to
        review electronic discovery during your visit.

       Please be advised that you will not be permitted to leave
        materials with your client at the conclusion of your legal
        visit. If you wish to leave documents for your client at the
        conclusion of your visit, you may utilize the locked drop-
        box in the institution’s main lobby.

       Electronic discovery that is sent to the inmate by defense
        counsel will require an electronic discovery authorization
        form prior to being mailed. This form can be obtained by e-
        mailing the USP Lewisburg Legal Department at LEW-
        LegalSvcs@bop.gov. All electronic discovery must be properly
        labeled with the inmate’s name, register number, and case
        number.

       Non-attorney visitors will need to complete a NCIC background
        check in advance of any visits. Additionally, the
        sponsoring attorney will need to complete an attorney
        attestation, which can be obtained by contacting the USP
        Lewisburg Legal Department.


                      Electronic Discovery Materials

       Electronic discovery may only be sent on CD/DVD. Thumb
        drives and hard drives will not be permitted to be sent
        directly to inmates. All electronic discovery will be
        retained by the inmate.

       Prior to sending CDs/DVDs, you must complete an Electronic
        Discovery Authorization, a copy of which is attached. E-mail
        a copy of the completed form to the Legal Department at LEW-


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       LegalSvcs@bop.gov. The original form must be included in the
       package of discs, which is to be mailed directly to the
       inmate as special mail. If the form is not included, the
       mail will be rejected and returned.

      Inmate special mail must be sent in accordance with 28
       C.F.R. § 540.18. The envelope must identify the inmate, the
       inmate’s federal register number, and be marked “Special
       Mail – Open only in the presence of the inmate.” The sender
       must also be identified in the return address by name and
       with an indication of their status as an attorney.

      Once received, the inmate’s Unit Team will open the mail in
       the presence of the inmate and have the inmate sign to
       acknowledge receipt. If the inmate refuses to sign, the Unit
       Team staff member will complete the refusal section of the
       form and the mail will be returned to you.

      In cases where an external hard drive is required, you
       should have the Assistant United States Attorney contact the
       Lewisburg Legal Department to coordinate.

      Inmates can review their electronic discovery on a computer
       in their housing unit. Additionally, inmates with sensitive
       cases or those desiring additional privacy will have the
       opportunity to request the use of a secure discovery
       computer through the housing unit staff.




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